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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

                                             CASE NO.:

AISHIA PETERSEN,

       Plaintiff,

v.

UNIQLO USA, LLC.,

      Defendant.
__________________________________/

                           COMPLAINT FOR INJUNCTIVE RELIEF


       COMES NOW, Plaintiff Aishia Petersen (“Plaintiff “or “Petersen”), by and through

undersigned counsel, files this Complaint and sues Defendant, UNIQLO USA LLC,

for Permanent Injunctive Relief pursuant to Title III of the Americans with Disabilities Act of

1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”), 28 U.S.C. §2201 and 2202 as well as

28 CFR Part 36 Regulations. Plaintiff state as follows:

                                      INTRODUCTION

       1. This Court has jurisdiction over this case based on federal question jurisdiction, as

provided in 28 U.S.C. §1331 and the provisions of the Americans with Disabilities Act,

(hereinafter, “ADA”).

       2. Plaintiff is a visually impaired and legally blind person (disabled) who requires

assistance through screen-reading to navigate and communicate with business through the

internet and its innumerous applications using her browser in her mobile phone. Plaintiff uses




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the term “blind” or “visually impaired” as legally blind. Disable as defined by ADA and

Amendment acts of 2008, 42 USC §12101 (ADAAA).

       3.Plaintiff brings this action against Defendant for providing a digital business mobile

application (running on mobile devices such as iPhone) that is not fully accessible usable by

visually impaired consumers. The mobile application at issue is available to customers for

download on customers mobile phones (“mobile app”).

       4. Defendant developed the mobile app and had an option during development to make

fully accessible to screen-readers but opted not to do so. Accessibility is an optional feature in

mobile app development. IPhone (Apple) platform offers developers accessibility tools to aid

them in creating an accessible user experience for all users, including those with a disability or

impairment.

       5. The Defendant distributes its mobile application to millions of customers through their

phone in the App store for iPhones.

       6. Defendant offers its mobile app to the general public from which it sells a variety of

casual clothing for men women and kids. Consumers require the ability to purchase goods and

services anytime and from anywhere, even on the go. Defendant’s mobile app allows mobile

device users to shop on a mobile platform through an internet connection to Wi-Fi or cellular

data so that users can make purchases, locate stores, and explore product offerings on the go.

       7. Defendant has subjected itself to the ADA because Defendant’s app is offered as a

tool to communicate between the business and consumers to sell its products from its brick and

mortar stores, which are places of public accommodation. As a result, the app must interact with

Defendant’s stores and the public, and in doing so must comply with the ADA, which means it




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must not discriminate against individuals with disabilities and may not deny full and equal

enjoyment of the goods and services afforded to the general public.

       8. In the statutory text, Congress determined that "individuals with disabilities

continually encounter various forms of discrimination," including "communication barriers". 42

U.S.C. § 12182(a).

       9. Blind and visually impaired consumers must use the assistive technology on the

mobile phone to access business mobile app content. The mobile app must be designed and

programmed to work with the assistive Accessibility feature available on the Apple iPhones,

and Android phone (Google and Samsung). Defendant’s mobile application, however, contains

digital barriers which limit the ability of blind and visually impaired consumers to access it.

       10. Defendant’s mobile application is not fully or equally accessible to blind or visually

impaired consumers in violation of the “ADA.” As a result, Plaintiff seeks a permanent

injunction to cause a change in UNIQLO USA LLC (“Defendant” or “UNIQLO”) policies,

practices and procedures so that Defendant’s mobile application will become, and remain,

accessible to blind. Plaintiff seeks injunctive relief, attorneys’ fees and costs, including, but not

limited to, court costs and expert fees, pursuant to Title III of the Americans with Disabilities

Act of 1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”) and 42 U.S.C. 2000a-3(a). See

also 28 U.S.C. 2201 and 2202 as well as ADA 28 CFR Part 36 Regulations.

       11. Throughout the ADA, "auxiliary aids and services" refers to techniques and devices

to overcome barriers in communicating with people who have visual and hearing impairments,

among other things. See 42 U.S.C. 12103(1).

       12. Implementing these provisions, see 42 U.S.C. § 12186(b), the Attorney General's

Title III regulations require public accommodations to "furnish appropriate auxiliary aids and




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services where necessary to ensure effective communication with individuals with disabilities."

28 C.F.R. § 36.303(c)(1). The regulations specifically list "screen reader software,"

"magnification software," and "accessible electronic and information technology" as among the

auxiliary aids that the statute requires. 28 C.F.R. § 36.303(b)(2).

       13. Plaintiff is sui juris, and he is disabled as defined by the ADA and ADA

Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”). Defendant’s failure to design,

construct, maintain, and operate its mobile application to be fully and equally accessible to and

independently usable by Plaintiff, constitutes in Defendant’s denial of full and equal access to

its mobile app, and therefore denial of its products and services offered thereby in conjunction

with its physical location(s), resulting in a violation of Plaintiff’s rights under the Americans

with Disabilities Act (“ADA”).

       14. Defendant owns and operates the mobile e-commerce application and several

UNIQLO USA LLC’s stores that are located in Florida.

       15. This case arises out of the fact that Defendant UNIQLO USA LLC has operated its

business in a manner and way that effectively excluding individuals who are visually impaired

from access to Defendant mobile e-commerce application based upon Defendant’s failure to

provide auxiliary aids and services for effective communications.

       16. Plaintiff seeks injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.

       17. Plaintiff, a legally blind person, is impeded to access and communicate with

Defendant effectively and timely such that allowing access to Defendant’s various business

locations; as such impediment as rendered Defendant’s physical places of accommodation not

fully accessible to the visually impaired.




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       18. Plaintiff has downloaded and attempted to patronize Defendant’s mobile application

in the past and intends to continue to make further attempts to patronize Defendant’s mobile

app. Plaintiff would like to pre-shop Defendant’s merchandise and learn about sales or discounts

before going to Defendant’s brick and mortar location. However, unless Defendant is required

to eliminate the access barriers at issue and required to change its policies so that access barriers

do not reoccur on Defendant’s app, Plaintiff will continue to be denied full and equal access to

the app as described and will be deterred from fully using Defendant’s app or shopping at the

physical locations.

       19. Plaintiff continues to attempt to utilize the Defendant’s mobile app and plans to

continue to attempt to utilize the app in the near future for upcoming holidays and general

purchase.

       20. Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

result of the discriminatory conditions present at Defendant’s mobile application. By continuing

to operate its mobile app with discriminatory conditions, Defendant contributes to Plaintiff’s

sense of isolation and segregation and deprives Plaintiff the full and equal enjoyment of the

goods, services, facilities, privileges and/or accommodations available to the general public.

Plaintiff is deprived of the meaningful choice of freely visiting and utilizing the same

accommodations readily available to the general public and is deterred and discouraged from

doing so. By maintaining an app with violations, Defendant deprives Plaintiff the equality of

opportunity offered to the general public.

       21. Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

of the Defendant’s discrimination until the Defendant is compelled to comply with the

requirements of the ADA.




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       22. However, unless Defendant is required to eliminate the access barriers at issue and

required to change its policies so that access barriers do not reoccur on Defendant’s mobile e-

commerce application, Plaintiff will continue to be denied full access and discriminated.

                                 JURISDICTION AND VENUE

       23. This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 42

U.S.C. § 12188.

       24. Plaintiff’s claims asserted herein arose in this judicial district and Defendant does

substantial business in this judicial district where it has multiple physical locations.

       25. Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1) and (2) in that

this is the judicial district in which Defendant resides, and in which a substantial part of the acts

and omissions giving rise to the claims occurred.

       26. Defendant is subject to personal jurisdiction in this District. Defendant has been and

is committing the acts or omissions alleged herein in the Middle District of Florida that caused

injury, and violated rights prescribed by the ADA to Plaintiff. This Court has personal

jurisdiction over UNIQLO, pursuant to, inter alia, Florida’s long arm statute F.S. § 48.193, a

substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred in the Middle

District of Florida. Specifically, on several separate occasions, Plaintiff has been denied the full

use and enjoyment of the facilities, goods, and services of Defendant’s mobile app in Florida.

The access barriers Plaintiff encountered on Defendant’s mobile app have caused a denial of

Plaintiff’s full and equal access multiple times in the past, and now deter Plaintiff on a regular

basis from accessing Defendant’s mobile app. Plaintiff would like to become Defendant’s

patron and access the Defendant’s mobile app in the near future but the barriers Plaintiff

encountered on Defendant’s mobile app have impeded Plaintiff’s full and equal enjoyment of




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goods and services offered at Defendant’s brick-and mortar stores. Defendant UNIQLO is

authorized to conduct, and is conducting, business within the State of Florida and within the

jurisdiction of this court.

                                            PARTIES

        27. Plaintiff, Aishia Petersen, is and, at all times relevant hereto, is an Orlando, Florida

resident. Plaintiff is and, at all times relevant hereto, has been legally blind and is therefore a

member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

        28. Petersen is legally blind, and a member of a protected class under the ADA.

Whereby, she has a disability within the meaning of 42 U.S.C. § 12102(1)-(2), the regulations

implementing the ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h).

Plaintiff was diagnosed with congenital glaucoma in both eyes by UM Health- Bascom Palmer

Eye Institute, and consequently, is legally blind and the visual disability is permanent. Plaintiff

is a legally blind individual who has a physical impairment that substantially limits the major

life activity of seeing. Accordingly, she has a disability within the meaning of 42 U.S.C. §

12102 and 28 C.F.R. § 35.104. Plaintiff is a qualified individual with a disability within the

meaning of 42 U.S.C. § 12131(2), 29 U.S. Code § 794 and 28 C.F.R. § 35.104.

        29. Defendant UNIQLO USA LLC owns, operates and maintains multiple stores called

UNIQLO, within the Middle District of Florida, either through franchisees, affiliates, partners or

other entities. Defendant’s store sells UNIQLO fashion and casual clothing merchandise to the

public. Defendant also offers those items to the public through its mobile app. Defendant’s store

and accompanying mobile app work collectively and are public accommodations pursuant to 42

U.S.C. § 12181(7)(E).




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                                           FACTS

       30. Defendant is defined as a “Place of Public Accommodation" within meaning of Title

III because Defendant is a private entity which owns and/or operates “[A] bakery, grocery store,

clothing store, hardware store, shopping center, or other sales establishment,” 42 U.S.C.

§12181(7)(E) and 28 C.F.R. §36.104(5).

       31. Each of Defendant UNIQLO’s stores are open to the public and each is a Place of

Public Accommodation subject to the requirements of Title III of the ADA and its implementing

regulation as “[A] … other sales establishment,” as defined by 42 U.S.C. §12181(7)(E); §12182,

and 28 C.F.R. Part 36.

       32. UNIQLO’s stores offer for sale to the general public casual clothing and accessories.

       33. Defendant’s mobile application is offered by Defendant as a way for the public to

communicate with UNIQLO merchandise. Defendant’s mobile app also permits the general

public to order and purchase casual clothing, for women and kids, provides information about

its products, and (among other things) provides: customer service, locate stores, buy casual

clothing and accessories.

       34. A mobile app is a program that is downloaded and installed onto a user's mobile

device, whereas a website is a site (place) on the internet where users visit it. The mobile

application is saved on the smartphone, and in most cases an internet connection is optional in

order to work. Both are ways of digital communication between the business and the users. A

mobile app remains on the user's smartphone and is therefore ideal for frequent and repeated

communication. Mobile app push notifications are small messages that pop up in a user's status




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bar to let them know about an upcoming deal, reminders, and more. Push notifications are very

convenient way successful way for business to reach and monetize their customers.

       35. A blind person may give permission or consent to geolocation, push notifications and

user’s data sharing to third party if the mobile application is accessible to screen-reader (audio

voice unable).

       36. The mobile application is an integral part of the goods and services offered by

Defendant’s store, because Defendant’s mobile app and its physical stores are heavily

integrated, since the mobile application allows the public the ability to locate Defendant’s

stores, retail locations and sells merchandise.

       37. The mobile application is an extension of defendant’s physical stores. By this nexus,

between the store and the mobile application is characterized as a Place of Public

Accommodation pursuant to Title III, 42 U.S.C. §12181(7)(E) of the ADA.

       38. Defendant has control over its mobile application content, design and source-code.

Defendant’s mobile app has a nexus to a place of public accommodation pursuant to 42 U.S.C. §

12181(7)(E). Therefore, under the ADA, Defendant must ensure that individuals with

disabilities have access to full and equal enjoyment of the goods and services offered on its app.

       39.Blind and visually impaired individuals may access mobile apps by using

accessibility features in conjunction with screen reader software that converts text to audio.

Screen reader software provides the primary method by which a visually impaired person may

independently use the internet. Unless the app is developed and designed with Accessibility

features to be accessed with screen reader software, visually impaired individuals are unable to

fully access app and the information, products, and services available through the app.




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       40. There are specific guidelines in place endorsed by the US Department of Justice in

numerous U.S. District Courts. The international internet standards organization, W3C, has

published WCAG 2.1 A (Web and mobile Content Accessibility Guidelines). WCAG 2.1

provides widely accepted guidelines for making mobile apps accessible to individuals with

disabilities and compatible with screen reader software.

       41. Plaintiff is legally blind and uses an Iphone that comes with “Voiceover” and

Android “Talkback” screen reader (audio) feature in order to access internet mobile

applications’ content. Plaintiff’s software is the most popular screen reader software utilized

worldwide by visually impaired individuals for mobile phones.

       42. Despite attempts, Defendant’s mobile app did not fully integrate with Plaintiff’s

mobile phone Accessibility screen-reader, nor was there any function within the app to permit

access for visually impaired individuals through other means. Her shopping attempts were

rendered futile because the app was inaccessible. Therefore, Plaintiff was denied the full use and

enjoyment of the goods and services available on Defendant’s app as a result of access barriers

on the mobile app. For example, products for sale and images have no description and audio is

unavailable; multiple items have the same description label (audio“model image Fleece1, model

image Fleece 2”), items without zoom feature should be larger; touch target is too small, poor

contrast; create account and sign in - email and password form field with inaccurate audio (“text

field”) it should be “enter email” and “enter password”; multiple clickable items share same

location in the screen adding to confusion and inaccessibility. First page banners have no

accurate description (all say the same thing “button”). Map in search store has audio “image” for

all stores in the map.




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       43. Defendant’s mobile application does not meet the WCAG 2.1 A level of

accessibility. The mobile application should be accessible by keyboard only (no mouse or other

pointing device). Video without accessible controls. Multiple issues were found including:

submits a form with errors then the error message(s) is visually displayed but is neither

announced nor given keyboard-focus; mobile app buttons do not have the proper roles and are

not accessible to “Voiceover”(Iphone) and “Talkback” (Android phone).

       44. By failing to adequately design and program its mobile application to accurately and

sufficiently integrate with mobile screen-readers, Defendant has discriminated against Plaintiff

and others with visual impairments on the basis of a disability by denying them full and equal

enjoyment of the app, in violation of 42 U.S.C. § 12182(a) and C.F.R. § 36.201.

       45. As a result of Defendant’s discrimination, Plaintiff was unable to use Defendant’s

mobile application and suffered an injury in fact including loss of dignity, discrimination, and

other tangible and intangible injuries.

       46. The barriers on the mobile application have caused a denial of Plaintiff’s full and

equal access multiple times in the past, and now deter Plaintiff from attempting to use

Defendant’s mobile app.

                          AMERICAN WITH DISABILITIES ACT

       47. The failure to access the information needed precluded Plaintiff’s ability to patronize

UNIQLO’s stores because, as a blind individual, Plaintiff needs to plan her outings out in detail

in order to have the proper financing for a venture, and insure that she arrives at a given

location.

       48. Technology evolves, in these days, consumers are doing most of their shopping

online. Defendant’s provision of an e-commerce mobile application is an essential part of the




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services offered and is no different than the customer service to the public as part of UNIQLO’s

stores services, privileges and benefit to the public.

        49. Title III ADA Part 36 regulation was amended to integrate section 36.303 Auxiliary

Aids and Services “A public accommodation shall furnish appropriate auxiliary aids and

services where necessary to ensure effective communication with individuals with disabilities.”

         50. By this nexus, the Defendant’s mobile application is characterized as an intangible

service, privilege and advantage provided by UNIQLO’s stores a Place of Public

Accommodation as defined under the ADA, and thus its mobile application is an extension of

UNIQLO’s services, privileges and advantages made available to the general public by

Defendant through its retail brick and mortar stores.

        51. All Public Accommodations must ensure that their Places of Public Accommodation

provide Effective Communication for all members of the general public, including individuals

with disabilities. Binding case law increasingly recognize that private entities are providing

goods and services to the public through the mobile application that operate as “Places of Public

Accommodation” under Title III.

        52. A person who cannot see, like the Plaintiff in this case, cannot go to Defendant’s

mobile app and avail themselves of the same privileges. Thus, the Plaintiff has suffered

discrimination due to Defendant’s failure to provide a reasonable accommodation for Plaintiff’s

disability.

        53. Notice to Defendant is not required as a result of Defendant’s failure to cure the

violations.

        54. Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

U.S.C. §§ 2201 and 2202 and Title III ADA Subpart E Section 36.501.




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       55. Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, among other things: a failure to make reasonable modifications in policies, practices or

procedures, when such modifications are necessary to afford such goods, services, facilities,

privileges, advantages or accommodations to individuals with disabilities, unless the entity can

demonstrate that making such modifications would fundamentally alter the nature of such

goods, services, facilities, privileges, advantages or accommodations; and a failure to take such

steps as may be necessary to ensure that no individual with a disability is excluded, denied

services, segregated or otherwise treated differently than other individuals because of the

absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

would fundamentally alter the nature of good, service, facility, privilege, advantage or

accommodation being offered or would result in an undue burden. 42U.S.C. §

12182(b)(2)(A)(ii) (iii); see also 28 C.F.R. § 36.303(a). Title III requires that “[a] public

accommodation shall furnish appropriate auxiliary aids and services where necessary to ensure

effective communication with individuals with disabilities.” 28 C.F.R. § 36.303(c)(1). The

regulations set forth numerous examples of “auxiliary aids          and    services,”   including

“…accessible electronic and information technology; or other effective methods of making

visually delivered materials available to individuals who are blind or have low vision.” 28

C.F.R. § 36.303(b).

     COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

       56. Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

Public Accommodations and requires Places of Public Accommodation to be designed,




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constructed, and altered in compliance with the accessibility standards established by Part 36

Regulation.

        57. The acts alleged herein constitute violations of Title III of the ADA, and the

regulations promulgated thereunder. Plaintiff, who is legally blind and has a disability that

substantially limits the major life activity of seeing within the meaning of 42 U.S.C.

§§12102(1)(A) and (2)(A), has been denied full and equal access to Defendant’s app. Plaintiff

has not been afforded the goods, services, privileges and advantages that are provided to other

patrons who are not disabled, and/or has been provided goods, services, privileges and

advantages that are inferior to those provided to non-disabled persons. These violations are

ongoing as Defendant has failed to make any prompt and equitable changes to its app and

policies in order to remedy its discriminatory conduct.

       58. Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

alleged hereinabove and this suit for injunctive relief is her only means to secure adequate

redress from Defendant’s unlawful and discriminatory practices.

       59. Unlawful discrimination includes “a failure to make reasonable modifications in

policies, practices, or procedures, when such modifications are necessary to afford such goods,

services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

unless the entity can demonstrate that making such modifications would fundamentally alter the

nature of such goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C.

§ 12182(b)(2)(A)(II).

       60. Unlawful discrimination also includes “a failure to take such steps as may be

necessary to ensure that no individual with a disability is excluded, denied services, segregated

or otherwise treated differently than other individuals because of the absence of auxiliary aids




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and services, unless the entity can demonstrate that taking such steps would fundamentally alter

the nature of the good, service, facility, privilege, advantage, or accommodation being offered or

would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(III).

       61. Defendant is in violation of the ADA by creating barriers for individuals with

disabilities who are visually impaired and who require the assistance of interface with screen

reader software to comprehend and access digital mobile applications. These violations are

ongoing.

       62. Plaintiff has retained the law office of Acacia Barros, Esq. and has agreed to pay a

reasonable fee for services in the prosecution of this cause, including costs and expenses

incurred. Plaintiff is entitled to have reasonable attorneys’ fees, costs and expenses paid by

Defendant UNIQLO.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Aishia Petersen hereby prays judgment against Defendant

“UNIQLO USA LLC” and requests the following injunctive relief permanently enjoin

Defendant from any practice, policy and/or procedure which will deny Plaintiff equal access to,

and benefit from Defendant’s services and goods, as well as the Court:

               a. A Declaratory Judgment that at the commencement of this action Defendant

               was in violation of the specific requirements of Title III of the ADA described

               above, and the relevant implementing regulations of the ADA, in that Defendant

               took no action that was reasonably calculated to ensure that its mobile

               application is fully accessible to, and independently usable by, blind individuals;

               b. A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

               36.504(a) which directs Defendant to take all steps necessary to brings its app




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             into full compliance with the requirements set forth in the ADA, and its

             implementing regulations, so that its app is fully accessible to, and independently

             usable by, blind individuals, and which further directs that the Court shall retain

             jurisdiction for a period to be determined to ensure that Defendant has adopted

             and is following an institutional policy that will in fact cause Defendant to

             remain fully in compliance with the law;

             c. That the Court enter an Order directing Defendants to continually update and

             maintain their mobile application to ensure that it remains fully accessible to and

             usable by visually impaired individuals;

             d. That the Court enter an award of attorney’s fees, costs and litigation expenses

             pursuant to 42 U.S.C. § 12205; and Title III of the ADA Section § 36.505, and

             e. The provision of whatever other relief the Court deems just, equitable and

             appropriate.



Dated this 23rd day of November 2020.

                                            s/Acacia Barros
                                            Attorney for Plaintiff
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                                CERTIFICATE OF SERVICE

           I hereby certify that on this 23rd day of November 2020 that the foregoing

document has been filed using CM/ECF system and will   be   served   via   email   when

Defendant/Defendant’s counsel enters an appearance.

                                              /s/Acacia Barros
                                              Attorney for Plaintiff
                                               ACACIA BARROS, P.A.




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